 

Case 2:16-mj-00551-JPD Document1 Filed 12/23/16 Page 1 of 16
AO 106 (Rev. 04/10) Application for a Search Warrant :

 

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UNITED STATES DISTRICT COURT ° RECENED
DEC 23 2016

AT SEATTLE
CLERK U.S. DISTRICT
py ESTERN DISTRICT OF WASHINGTON
DEPUTY

for the ,
Western District of Washington

In the Matter of the Search of

(Briefly describe the property to be searched

or identify the person by name and address) Case No. Mj- i b - Se Ss /
A Computer Accessing E-mail Account

lavandos@dr.com

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APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A, which is attached hereto and incorporated herein by this reference.

located in the Western District of Washington or elsewhere __, there is now concealed (identify the
person or describe the property to be seized):

 

See Attachment B, which is attached hereto and incorporated herein by this reference.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
of evidence of a crime;
© contraband, fruits of crime, or other items illegally possessed;
© property designed for use, intended for use, or used in committing a crime;
Ca person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 U.S.C. § 875 (d) interstate Threats to Extort
18 U.S.C. § 1030 (a)(5) Damaging to a Protected Computer
18 U.S.C. § 1030 (a)(7) Extortion by Threatening or in Relation to Damaging a Protected Computer

The application is based on these facts:

See Affidavit of Chris Hansen, Seattle Police Department, United States Secret Service Task Force Officer, which
is attached hereto and incorporated herein by reference

Continued on the attached sheet.

om Delayed notice of days (give exact ending date if more than 30 days: 04/23/2018 _ ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

 

   

 

Applicalit ’s_ signature

Chris Hansen, SPD-USSS Task Force Officer

Printed name and title

Sworn to before me pursuant to CrimRule 4.1. -
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Date: Ve ZS LOLA Mes P. pa<_

(/ Judge's signature

City and state: Seattle, Washington James P. Donohue, United States Magistrate Judge
Printed name and title

 

USAO #2016R01459
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ATTACHMENT A

Location to be Searched

This warrant authorizes the use of a network investigative technique on any

computer accessing the e-mail account lavandos@dr.com.
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ATTACHMENT B

Information to be Seized

The following information that may assist in identifying the computer, its location,

other information about the computer, and the user of the computer, all of which is

evidence of violations of 18 USC §§ 875(d), 1030(a)(5), and 1030(a)(7)(A) & (C):

a.

The computer’s IP address and the communication port number used
by the computer to access the United States Secret Service server.
The computer’s open communication ports.

The type of operating system running on the computer, including
type (e.g., Windows), version (e.g., Windows 10), and license
number.

The computer’s language encoding and default language.

The computer’s time zone information.

The registered computer name (more commonly referred to as the
“host name”) and registered company domain name.

The user name of the currently logged-in user.

A list of the user names of other local user accounts on the
computer.

The computer’s wired and wireless network connection information.
A list of the wireless network identifiers of wireless access points
that have been saved to the computer.

The list of IP addresses and port numbers of currently-connected and

recently-connected computers.
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AFFIDAVIT

I, Chris Hansen, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

1. I am an officer with the Seattle Police Department (SPD), commissioned
through the Washington State Criminal Justice Training Commission, and have been
since June 2000. I received my law enforcement training from the Washington State
Criminal Justice Training Commission Basic Law Enforcement Academy. I serve as a
Detective in SPD’s Fraud, Forgery and Financial Exploitation Unit. In that capacity, I
have conducted investigations involving forgery, theft, possession of stolen property,
credit card fraud, Internet fraud, embezzlement, securities fraud, insurance fraud and
identity theft.

2. I currently serve as a computer forensic examiner and task force officer on
the United States Secret Service - Electronic Crimes Task Force (USSS-ECTF), and, in
connection with that assignment, have been specially deputized as a Special Deputy
United States Marshal. I have served as a task force officer for the USSS-ECTF since
August 2008, and as a computer forensic examiner since March 2010. During the course
of this assignment, I have participated in investigations of numerous electronic crime
cases, including network intrusion incidents, point-of-sale breach incidents, skimming
incidents, sales of credit card dumps, e-mail phishing schemes and credit card cashout
schemes. During my time on the USSS-ECTF, I have received over 1,400 hours of
training in digital forensics, including courses on the topics of network intrusion and
point-of-sale breach investigations.

3. I make this affidavit in support of applications under Rule 41(b)(6)(A) of
the Federal Rules of Criminal Procedure for two search warrants to use network
investigative techniques (NITs). One of those two applications requests approval to send

communications to the e-mail account lavandos@dr.com that are designed to cause

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whatever computer is used to open these communications to transmit data that will
identify the computer, its location, other information about the computer, and the user of .
the computer. The other application requests approval to send communications to e-mail
account lavandos@india.com that are designed to cause whatever computer is used to
open these communications to transmit the same data concerning that computer.

4. As set forth herein, there is probable cause to believe that the user(s) of the
e-mail accounts lavandos@dr.com and lavandos@india.com have committed violations
of 18 U.S.C. § 875(d) (which prohibits transmission in interstate and foreign commerce
of threats to injure property that are made with the intent to extort), 18 USC § 1030(a)(5)
(which prohibits transmitting programs, code, and commands to protected computers and,
thereby, damaging such computers), and 18 USC § 1030(a)(7)(A) & (C) (which prohibit
threatening to damage a protected computer and demanding money in relation to
damaging a protected computer). There also is probable cause to believe that evidence of
the identity of the person(s) who have committed these violations exists on the computers
that will be used to open communications sent to these two e-mail accounts, and that this
evidence will be obtained through the use of the NITs for which this Affidavit is being
submitted. |

5. This information contained in this Affidavit is based on my own
investigation, as well as upon information received from the persons identified in this
Affidavit. This Affidavit does not contain all of the information that I have gathered
during my investigation. Rather, the Affidavit contains only the information that I
believe is relevant to the determination of probable cause for the requested warrants.

THE INVESTIGATION

6. On December 6, 2016, the USSS Seattle Field Office received a request for
assistance from a representative of the South Correctional Entity (SCORE) Jail in Des
Moines. The SCORE Jail is a jail in Des Moines, Washington, that serves seven member

cities and a number of contract agencies. The SCORE Jail reported that it had just

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discovered ransomware on its computer network. I subsequently participated in a
telephone call with A.M, the Information Technology Director for the SCORE Jail.

7. A.M. told me that a user on the SCORE Jail’s computer network had
reported that the user was unable to access the user’s computer files on a server that the
SCORE Jail uses to facilitate remote searches of jail records by law enforcement officers
with accounts on the SCORE Jail computer system. That server is accessible through the
world wide web, and when users (even those in Washington State) contact it, their
communications commonly are routed through other states. According to A.M., the files
all had been renamed by the addition of the extension “.[lavandos@dr.com].wallet” to the
files’ names, and the files no longer could be opened by the computer programs that
previously had been used to create and access the files.

8. In addition to the now-inaccessible files, A.M. located a JPG computer file

on the SCORE Jail’s computer system that contained the following text:

//hallo, our dear friend! //looks like you have some troubles
with your security //all your files are now encrypted //using
third-party recovering software will corrupt your data //you
have only one way to get them back safely — using our
decryption tool //to get original decryption tool contact us
with email in subject line write your ID, which you can find
in name of every crypted file, also attach to email 3 crypted
files lavandos@dr.com //it is in your interest to respond [sic]
as soon as possible to ensure the restoration of your files,
because we won’t keep your decryption keys at our servers
more than 72 hours in interest of our security //P.S. only in
case you don’t receive a response from the first email address
within 24 hours, please use this alternative email address

lavandos@india.com.
Based upon my experience and training, I believe that the person(s) who encrypted
SCORE Jail files, and sent this message to the SCORE Jail, is/are perpetrating a
“ransomware” scheme — that is, a scheme in which a victim’s computer files are held
hostage through encryption, and in which the perpetrator(s) will demand payment in

order to decrypt the files.

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9. According to Whois.com, a website that provides information concerning
web domains, the domains dr.com and india.com both are registered to World Media
Group, LLC, a Bedminster, New Jersey, company. I do not have any additional
information identifying the person or entity who established the specific e-mail addresses
lavandos@dr.com and lavandos@india.com.

10. A.M. further stated the malware accessed the system through the account of
a user with the user name vmartinez, who, an Auburn, Washington, police officer. The
SCORE Jail believes that vmartinez is himself a hacking victim, rather than the
perpetrator of the ransomware scheme I am investigating. A.M. also stated that the
vmartinez account on the SCORE jail computer system had been accessed from a number
of different Internet Protocol addresses (IP addresses) at different locations over a period
of months.

11. | While we were speaking, A.M. noticed an unfamiliar program named
bendix.exe running in the Downloads folder for the vmartinez user account. A.M. made
a copy of bendix.exe. I asked A.M. to make an image of the RAM on the machine on
which bendix.exe was currently running. A.M. began to collect the RAM image while
we continued to speak. A short time later, A.M. reported that the malware was now
encrypting and renaming files in the computer folder to which the RAM capture was
being saved.

12. On December 9, 2016, at my direction, A.M. sent an e-mail to the e-mail
address lavandos@dr.com that stated, “Please help. I don’t understand your instructions
to get my files back. You say there is an ID, what does it look like. Is it a number? What
do you need me to do? I need to get my files back ASAP. \\[A.M.], Information
Technology Director.” Shortly after sending that e-mail, A.M. received an e-mail from
lavandos@dr.com that stated, “hello, [A.] \\just send us 3 crypted files \\after this i will
tell you how to proceed.” I inspected the e-mail header information and observed the

originating IP address address was 37.220.35.202. I checked the IP address via

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domaintools.com and discovered that this IP address was listed as a Tor exit node
operated by Rens Ariens of YISP Colo in the Netherlands.

13. The Tor network is a publicly-available tool used for anonymizing a user’s
web traffic. It is a network that provides free access to all subscribers. The network
obfuscates a user’s location by encrypting the user’s connection and routing the user’s
traffic through multiple participating nodes to complete an anonymous connection. As a
result, the fact that the e-mail emanated from a Tor exit node in the Netherlands does not
actually indicate that the sender of the e-mail is in the Netherlands. Rather, it is
impossible to determine the sender’s location.

14. According to A.M., the ransomware attack on the SCORE Jail’s file servers
caused a major disruption to work for over 12 hours. The ransomware infected a primary
network share used by every employee at the SCORE Jail that contains files essential for
their job duties. Once discovered, the network share had to be taken offline to stop
further infections. SCORE Jail had to restore the contents of the shared folder from the
previous night’s off-site backup, which caused a loss of data from any file modifications
made in the interim. The ransomware also infected a software program used by several
law enforcement agencies to create lineup montages, infecting the image files used for
creating these lineups and preventing law enforcement officers from accessing the system
to look up inmate booking photos and tattoo images.

PLACES TO BE SEARCHED AND PROPERTY TO BE SEIZED

15. Based on my training, experience, and the information described above, I
believe that using a NIT may help identify the user(s) of the lavandos@dr.com and
lavandos@india.com e-mail accounts. Accordingly, this warrant application seeks
authority to use the NIT, which will be deployed via e-mail to these two e-mail accounts.

16. Specifically, the NIT will cause a computer on which it-is opened to send
various identifying information regarding that computer back to a computer controlled by
the USSS. I intend to conceal the NIT within a file named Shift Scheduler Installer. I
then intend to zip (that is, compress) the file. With the cooperation of the SCORE Jail, I

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intend to then place the zipped file on the SCORE Jail’s computer and to expose it to the
malware on the SCORE Jail’s system. Exposing the zipped file to the malware will cause
the zipped file to become encrypted.

17, | Once the malware has encrypted the zipped file containing the NIT, the
SCORE Jail will send this encrypted file, and two other encrypted files, to
lavandos@dr.com and, subsequently, to lavandos@india.com. I expect that, when the
perpetrator(s) of the ransomware scheme receive(s) these encrypted files, the
perpetrator(s) will use an encryption key to unencrypt the files and will then return the
unencrypted files to the SCORE Jail as proof that the perpetrator(s) of the ransomware
scheme are able to decrypt encrypted files.

18. At that point, the SCORE Jail will contact the perpetrator(s) of the
ransomware scheme and tell the perpetrator(s) that the unzipped Shift Scheduler Installer
file is not functional. The SCORE Jail will ask the perpetrator(s) to examine the
unzipped file and to repair it. The SCORE Jail also will e-mail the perpetrator(s) a copy
of the unencrypted file (to cover the possibility that the perpetrator(s) did not retain a
copy of the file). If the perpetrator(s), in fact, examine(s) the unzipped file, and in doing
so attempt(s) to run the file, the action of pressing the “run” button will launch the NIT.

19. Once activated, the NIT will conduct a one-time limited search of the
computer on which the NIT has been launched. Specifically, the NIT will collect
information that will assist in identifying the computer, its location, other information
about the computer, and the user of the computer. The NIT will then cause this
information to be sent over the Internet to a computer controlled by the USSS. The
information that the NIT will collect and send to the USSS is:

a. The computer's IP address and the communication port
number used by the computer to access the USSS
server. An IP address is a unique numeric address
used to direct information over the Internet. An IP

version 4 (IPv4) address is a 32-bit binary number (a

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sequence of 32 ones and zeros representing a number
to a computer). For convenience of reading and
writing by humans, IPv4 addresses are typically
represented by four decimal numbers in the range 0-
255, separated by periods (e.g., 121.56.97.178). An IP
version 6 (IPv6) address is a 128-bit binary number (a
sequence of 128 ones and zeros representing a number
to a computer). For convenience, an [Pv6 address is
typically written as eight groups of four hexadecimal
digits (using the characters 0-9 and A-F), separated by
the colon character (e.g.,
2001:0db8:0000:0042:0000:8a2e). Conceptually, IP
addresses are similar to telephone numbers in that they
are used to identify computers that send and receive
information over the Internet. A communications port
number is used in different ways by a "server"
computer (a computer that is "listening" for incoming
connections) and a "client" computer (a computer that
initiates a connection to a server computer). A server
computer "listens" on one or more standard
communications ports that are associated with
particular services. For example, a web server is
expected to listen on port 80 for connections to serve
web pages. A client computer uses a communications
port number as an identifier to receive return
information coming back from a server, and to keep
concurrent connections with different servers

separated. Conceptually, a port number is like a
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telephone extension number at an office with multiple
phones served by the same telephone number. The
standard port numbers such as 80 for a web server are
analogous to published extensions at a business, such
as extension 0 for the operator. The port number used
by the client is analogous to a telephone number and
extension that a caller records in a voicemail message
to allow the business to call the client back.

The computer's open communication ports.

The type of operating system running on the computer,
including type (e.g. Windows), version (e.g. Windows
10), and license number.

The computer's language encoding and default
language. Users can set computers to display text in a
particular language.

The computer's time zone information.

The registered computer name (more commonly
referred to as the "host name") and registered company
domain name. Users can input this information when
the computer's operating system is first installed and
may update this information later.

The user name of the currently logged-in user account.
A list of the user names of other local user accounts on
the computer.

The computer's wired and wireless network connection
configuration information. This information identifies

the way the computer is connected to the Internet.
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j. A list of the wireless network identifiers of wireless
access points that have been saved to the computer.
This list identifies wireless networks that the computer
previously connected to and which were saved by
operator of the computer. This may identify other
ways that the computer connects to the Internet.

k. The list of IP addresses and port numbers of currently-
connected and recently-connected computers. This list
identifies other computers that the computer is
connected to or has recently connected to, and may
identify whether the operator of the computer has
connected to it remotely from another computer.

20. Each of these categories of information can help to identify the computer
receiving the NIT and/or that computer's user. The computer's true assigned IP address
can be associated with an Internet Service Provider ("ISP"), and through that, a particular
ISP customer. The communications port number being used to communicate to the
USSS server is required by some ISP companies along with the IP address and the date
and time of communication to particularly identify a customer. This is typically required
in those cases where an ISP with many customers but few assigned IP addresses uses the
same IP address (but different port numbers) for several customers, and keeps records
about which customer was assigned each port number. The operating system can
corroborate the identity of a computer and, in the case of an operating system’s license
number, identify the user, because some companies maintain records of purchasers of
their operating systems. The language encoding and computer default language can help
identify the subject by identifying his native language. Time zone information can
establish the geographical location of the subject computer. The computer name,
company name, logged-in user name, and list of user names of other user accounts can

identify the network, specific computer on a network, and perhaps even the name of the

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person using the computer. Wireless network connection information can tell from
where a computer accessed the Internet, even if it was through the unauthorized use of a
wireless network (a technique used by Internet criminals). Wired network information
and dial-up account information can help identify what computer was used to access the
Internet to receive the NIT. The list of open and recent connections may reveal the IP
address used by the subject to connect remotely from another computer to the computer
on which the subject actually opens e-mails and launches the NIT.

21. believe that using a NIT is necessary in this case, because the
perpetrator(s) of the ransomware scheme have used the Tor network to conceal the IP
address from which the perpetrator(s) is/are communicating with the SCORE Jail. The
information provided by the NIT should help identify the perpetrator(s) of the scheme,
despite this deliberate concealment.

22. Because the NIT will be delivered by e-mail addressed to the e-mail

accounts lavandos@dr.com and lavandos@india.com, and because it is being delivered in

 

an encrypted file, the NIT can be accessed only by someone who has access to one of
these e-mail accounts, and who also has access to the decryption keys for the ransomware
scheme that I am investigating. As a result, the NIT will only search, and identify, a
computer being used by a perpetrator of the scheme, as opposed to any other computer.
TIME AND MANNER OF EXECUTION OF THE SEARCH

23. Rule 41(e)(2) of the Federal Rules of Criminal Procedure requires that a
warrant command the law enforcement officer (a) “to execute the warrant within a
specified time no longer than 14 days” and (b) to “execute the warrant during the daytime
unless the judge for good cause expressly authorizes execution at another time... .” I
hereby request permission to deploy the NIT at any time of day or night within 14 days of
the date the warrants are authorized. There is good cause to allow such a method of
execution, since the time of deployment causes no additional intrusiveness or
inconvenience to anyone. In addition, the government will not be able to control the time

when a subject accesses the lavandos@dr.com and lavandos@india.com e-mail accounts

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and when the subject seeks to run the unencrypted Shift Scheduler Installer software, and

thereby launches the NIT.

DELAYED NOTIFICATION

24. Thereby request that the Court authorize me to delay notification of the

execution of the warrant for a period of 180 days after the execution of the warrant. 18

U.S.C. § 3103a(b) authorizes delayed notification where certain conditions are met.

Those conditions are met in this case because:

a.

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There is reasonable cause to believe that providing
immediate notification of the warrant may have an
adverse result, as defined in 18 U.S.C. § 2705. The
perpetrator(s) of the ransomware scheme is/are not
aware that I am seeking to use a NIT to identify and
locate their computers, and, through that, the
perpetrator(s). Providing immediate notice to
perpetrator(s) of the scheme would seriously
jeopardize the ongoing investigation, since such a
disclosure would give the perpetrator(s) an opportunity
to destroy evidence, change patterns of behavior,
notify confederates, and flee from prosecution. See 18
U.S.C. § 2705.

The warrant does not seek the seizure of any tangible
property, or any wire or electronic communication. To
the extent the warrant authorizes the seizure of stored
wire or electronic information, there is a reasonable
necessity for its seizure, since the information to be
seized is limited in scope and necessary to identify the

perpetrators of the ransomware scheme.
 

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c. This investigation is likely to take a substantial time.

Even if the NIT succeeds, the information obtained

through the use of the NIT may provide leads, but not

fully identify the perpetrator(s) of the ransomware

scheme. Additional investigation to complete that

identification, and gather necessary electronic

evidence before it is destroyed is likely to take many

months. As a result, a one-year delay in notification is

reasonable. (In the event that the investigation is

completed more quickly, and the perpetrator(s)

arrested in less than 180 days, I will provide

notification promptly following the arrest.)

| JURISDICTION
25. This Court has jurisdiction to issue the requested warrant under recently-
amended Rule 41(b)(6)(A), even if the computers to be searched are outside this District,
because the above facts establish there is probable cause to believe that the location of the
computers accessing the e-mail accounts being used by the perpetrator(s) has been
concealed through technological means, namely, the use of the Tor network, and that
there is probable cause to believe that activities related to the crime being investigated,
namely, the hacking of the SCORE Jail’s computers, have occurred within this judicial
district.
REQUEST FOR SEALING
26. | further requested that this Court issue an order sealing, until further order

of the Court, all papers submitted in support of this application, including the application
and search warrant. I believe that sealing these document is necessary because the search
is part of an ongoing investigation. Based upon my training and experience, I have
learned that online criminals commonly search for criminal affidavits and search warrants

via the Internet, and disseminate them to other online criminals as they deem appropriate,

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e.g., post them publicly online through the criminal forums. Premature disclosure of the
contents of this affidavit and related documents may have a significant and negative
impact on the continuing investigation, including by allowing perpetrator(s) an
opportunity to destroy evidence, change patterns of behavior, notify confederates, and
flee from prosecution.
CONCLUSION

27. Based on the information identified above there is probable cause to believe
that evidence of violations of 18 U.S.C. §§ 875(d), 1030(a)(5) and 1030(a)(7)(A) & (C)
will be found on the computer(s) that access the e-mail accounts lavandos@dr.com
and/or lavandos@india.com and to believe that employing the NIT sought by this

affidavit will result in the seizure of that evidence.

 

CHRIS HANSEN
Detective, Seattle Police Department
TFO, United States Secret Service

AFFIDAVIT subscribed and sworn to before me thisZ> 4 03 ay of December 2016

JAMES P. DONOHUE
ited States Magistrate Judge
Approved as to form:

ANDREW C. FRIEDMAN
Assistant United States Attorney

AFFIDAVIT/HANSEN
